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Daniel R Perlman SBN 236278

1601 Vine Street, Hollywood. CA 90028
310-935-3655
daniel@danielperlmanlaw.com

Attorney for Daniel Stonebarger

UNITED STATES DISTRICT COURT

DISTRICT OF COLORADO
UNITED STATES OF AMERICA, ) NO.: 1:21-cr-00392-RM-001
)
Plaintiff, ) STIPULATION AND [PROPOSED] ORDER TO
) APPEAR VIA VTC FOR CHANGE OF PLEA
v. )
)
DANIEL STONEBARGER )
)
Defendant. )
)

Counsel for defendant, Daniel Stonebarger stipulates and requests that Defendant and Counsel
for Defendant be permitted to appear by video (VTC) for the change of plea date currently set for
January 27,2022. The rapid spread of Coid-19 and its variants have given rise to concern of catching
and or spreading the virus by travel and appearing in court in person. On behalf of Mr. Stonebarger and

myself, we request the court’s approval of this concession for change of plea only.

While a continuance is often sufficient to allow other health concerns to pass or be resolved, in light of
the ongoing pandemic and the uncertainty it presents | believe that my Client would suffer significant
harm in relation to his constitutional rights should the matter not proceed as scheduled.

Therefore, in the interest of justice | pray that the court approve this appearance by VTC.

IT IS SO STIPULATED.
DATED: January 10, 2022 Respectfully submitted,

DANIEL R. AN
Counsel for Defendant Daniel Stonebarger

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